
Upon consideration of the Joint Petition for Disbarment by Consent, filed herein pursuant to Maryland Rule 19-736, and Respondent's acknowledgment therein that sufficient evidence exists to sustain allegations that he committed professional misconduct in violation of former Maryland Lawyers' Rules of Professional Conduct 1.15(a), 8.4(a) and (d), former Maryland Rules 16-606.1 and 16-607, in effect at the time of the conduct, and Business Occupations and Professions Article § 10-306, it is this 12th day of January, 2017,
ORDERED , that Respondent, Jonathan Kenneth Friedlander, be and hereby is Disbarred from the practice of law in this State, effective immediately; and it is further
ORDERED , that, the Clerk of this Court shall strike the name of Jonathan Kenneth Friedlander from the register of attorneys in the Court, notify Respondent of the filing of this Order in accordance with Maryland Rule 19-742(a)(1), and comply with the notice provisions set for the in Maryland Rule 19-761(b).
